     Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 1 of 11 Page ID
                                     #:46526


                                                                         2/25/22
1    Hon. Andrew J. Guilford (Ret.)                                         LB
     Judicate West
2    1851 East First Street
     Suite 1600
3    Santa Ana, CA 92705
     Phone: (714) 834-1340
4
     Special Master
5

6                                     IN THE UNITED STATES DISTRICT COURT

7                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

8                                             SOUTHERN DIVISION

9
     MASIMO CORPORATION, a Delaware                        )
10                                                         )
     Corporation; and CERCACOR                                 Case No. SACV 20-00048 JVS (JDEx)
                                                           )
11   LABORATORIES, INC., a Delaware                        )
     Corporation,                                          )   (JW Reference No.: A279845)
12                                                         )
                            Plaintiffs,                    )
13                                                         )   REPORT ON RECOMMENDATIONS
             vs.                                           )   CONCERNING SCHEDULING
14                                                         )
     APPLE INC., a California corporation,                 )
15                                                         )
                                                           )
16                          Defendant.                     )
                                                           )
17

18
19          Plaintiffs filed a motion before the Court in January 2022 to modify the scheduling order in

20   this case. (Dkt. No. 557.) After the motion was fully briefed, the Court took it off-calendar and in a

21   February 2, 2022 Order stated, “[a]bsent the parties’ agreement to a detailed schedule going

22   forward, the Special Master is directed to present his own recommendation to the Court by way of

23   report.” (Dkt. 586.) The Special Master discussed this matter with the parties at a hearing on

24   February 4, 2022, and on February 6, 2022, issued an Order on Scheduling establishing a

25   procedure to respond to the February 2, 2022 Order of Judge Selna, including that the parties meet

26   and confer on the issue. The Special Master urged that the parties cooperate in setting a trial date

27   as soon as reasonably possible.

28

                                                     1
     Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 2 of 11 Page ID
                                     #:46527



1           The Special Master has now reviewed the original briefing on the January scheduling order

2    motion, as well as all other documents related to the Special Master’s February 6, 2022 Order.

3    Central to the review by the Special Master was a Proposed Schedule submitted by both sides on

4    February 18, 2022.

5           On February 22, 2022, a hearing was held on the scheduling issue, with a tentative ruling

6    sent to both sides before the hearing. The hearing was attended by many people from both sides,

7    and was reported by Crystal Hereford.

8           At the February 22 hearing, many issues were discussed concerning scheduling. The Special

9    Master observed that Plaintiffs’ earlier briefs to the Court complained of deadlines and other orders

10   set by the Special Master that have not yet been met, including some relating to Apple’s collection

11   of text message communications for certain ESI custodians. The effect of this on scheduling was

12   discussed.

13          Apple stated in its earlier opposition to Plaintiffs’ motion to the Court that to the extent a

14   scheduling extension was permitted, the case should be bifurcated, with a first phase trial to focus

15   on Apple’s statute of limitations defense. At the February 22 hearing, the parties stated that the

16   Court had denied Apple’s motion for partial summary judgment as to its statute of limitations

17   defense, including by denying Apple’s alternative request for bifurcation. At the hearing, the parties

18   provided the Special Master with a copy of the Court’s sealed ruling. (See Dkt. No. 606.) The
19   Special Master did not consider bifurcation in reviewing scheduling.

20          Many other tangential issues were raised in the parties’ initial briefing to the Court, including

21   an issue about the identification of ESI custodians and whether new ESI custodians can be

22   identified at this late stage in this case. The effect of all such issues on scheduling was discussed

23   at the February 22 hearing.

24          The February 18, 2022 Proposed Schedule was discussed at great length during the

25   February 22 hearing. Hopes that the parties would make this a true Joint Report by largely agreeing

26   on this Proposed Schedule were dashed as there was very little agreement. There was much
27   dispute about dates, and dispute about what events needed to be scheduled. The parties did agree

28   that the December 6, 2022 trial date should be moved to August 8, 2023, and this was the date

                                                      2
     Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 3 of 11 Page ID
                                     #:46528



1    used to schedule other dates. The Special Master reviewed all circumstances concerning each

2    proposed date.

3           After the February 22 hearing, further communications by the Special Master established

4    that the trial should start on March 27, 2022. The Special Master then thoroughly reviewed the

5    Proposed Schedule, and adjusted it to the Final Schedule that is attached as Exhibit 1 with a trail

6    date on March 27, 2022. Again, the Special Master reviewed all circumstances concerning each

7    proposed date in setting the Final Schedule for all the events listed,

8           Thus, the Special Master submits this “Report on Recommendations” as requested by Judge

9    Selna, attaching a Final Schedule as Exhibit 1 with a trial date of March 27, 2022.

10

11          THUS IT IS REPORTED AND RECOMMMENDED

12

13
     Dated: February 25, 2022                                                         _
14                                                       Hon. Andrew J. Guilford (Ret.)
15                                                       Special Master

16

17

18
19

20

21

22

23

24

25

26
27

28

                                                     3
Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 4 of 11 Page ID
                                #:46529




                         Exhibit 1
Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 5 of 11 Page ID
                                #:46530
Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 6 of 11 Page ID
                                #:46531
Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 7 of 11 Page ID
                                #:46532
          Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 8 of 11 Page ID
                                          #:46533                              Santa Ana Office
                                                                                                                                         1851 East First Street
                                                                                                                                                   Suite 1600
                                                                                                                                         Santa Ana, CA 92705
                                                                                                                                        Phone: (714) 834-1340
                                                                                                                                          Fax: (714) 834-1344
                                                                                                                                   www.judicatewest.com



Case Contact List
as of Friday, February 25, 2022
JW Case #: A279845
Case Caption: Masimo Corporation, et al. vs. Apple, Inc.

    Daniel P. Hughes, Esq.
    Knobbe, Martens, Olson & Bear, LLP
    12790 El Camino Real
    San Diego, CA 92130
    Phone: (858) 707-4000 Fax: (858) 707-4001
    Email: daniel.hughes@knobbe.com
    Representing Masimo Corporation; Cercacor Laboratories, Inc.


    Stephen C. Jensen, Esq.
    Knobbe, Martens, Olson & Bear, LLP
    2040 Main St.
    14th Floor
    Irvine, CA 92614
    Phone: (949) 760-0404 Fax: (949) 760-9502
    Email: steve.jensen@knobbe.com
    Representing Masimo Corporation; Cercacor Laboratories, Inc.


    Mark D. Kachner, Esq.
    Knobbe, Martens, Olson & Bear, LLP
    2040 Main St.
    14th Floor
    Irvine, CA 92614
    Phone: (949) 760-0404 Fax: (949) 760-9502
    Email: mark.kachner@knobbe.com
    Representing Masimo Corporation; Cercacor Laboratories, Inc.


    Benjamin A. Katzenellenbogen, Esq.
    Knobbe, Martens, Olson & Bear, LLP
    2040 Main St.
    14th Floor
    Irvine, CA 92614
    Phone: (949) 760-0404 Fax: (949) 760-9502
    Email: ben.katzenellenbogen@knobbe.com
    Representing Masimo Corporation; Cercacor Laboratories, Inc.


    Stephen W. Larson, Esq.
    Knobbe, Martens, Olson & Bear, LLP
    2040 Main St.
    14th Floor
    Irvine, CA 92614
    Phone: (949) 760-0404 Fax: (949) 760-9502
    Email: stephen.larson@knobbe.com
    Representing Masimo Corporation; Cercacor Laboratories, Inc.


                Downtown Los Angeles Office ● 601 S. Figueroa Street Suite 4000 ● Los Angeles, CA 90017 ● (213) 223-1113 ● Fax (213) 223-1114
                        San Diego Office ● 402 W. Broadway Suite 2400 ● San Diego, CA 92101 ● (619) 814-1966 ● Fax (619) 814-1967
                      San Francisco Office ● 100 Pine Street Suite 1950 ● San Francisco, CA 94111 ● (415) 266-1242 ● Fax (415) 266-1243
                   West Los Angeles Office ● 11601 Wilshire Blvd Suite 2040 ● Los Angeles, CA 90025 ● (310) 442-2100 ● Fax (310) 442-2125
                        Sacramento Office ● 980 9th Street Suite 2200 ● Sacramento, CA 95814 ● (916) 394-8490 ● Fax (916) 394-8495
     Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 9 of 11 Page ID
                                     #:46534                              Santa Ana Office
                                                                                                                                    1851 East First Street
                                                                                                                                              Suite 1600
                                                                                                                                    Santa Ana, CA 92705
                                                                                                                                   Phone: (714) 834-1340
                                                                                                                                     Fax: (714) 834-1344
                                                                                                                              www.judicatewest.com


Perry D. Oldham, Esq.
Knobbe, Martens, Olson & Bear, LLP
2040 Main St.
14th Floor
Irvine, CA 92614
Phone: (949) 760-0404 Fax: (949) 760-9502
Email: perry.oldman@kmob.com
Representing Masimo Corporation; Cercacor Laboratories, Inc.


Adam B. Powell, Esq.
Knobbe, Martens, Olson & Bear, LLP
12790 El Camino Real
San Diego, CA 92130
Phone: (858) 707-4000 Fax: (858) 707-4001
Email: adam.powell@knobbe.com
Representing Masimo Corporation; Cercacor Laboratories, Inc.


Joseph R. Re, Esq.
Knobbe, Martens, Olson & Bear, LLP
2040 Main St.
14th Floor
Irvine, CA 92614
Phone: (949) 760-0404 Fax: (949) 760-9502
Email: jre@kmob.com
Representing Masimo Corporation; Cercacor Laboratories, Inc.


Ryan J. Moran, Esq.
Apple, Inc.
1 Infinite Loop
MS 169-2NYJ
Cupertino, CA 95014
Phone: (408) 974-0756 Fax:
Email: rmoran@apple.com
Representing Apple, Inc.


Natalie Pous, Esq.
Apple, Inc.
1 Infinite Loop
MS 169-2NYJ
Cupertino, CA 95014
Phone: (408) 974-0756 Fax:
Email: npous@apple.com
Representing Apple, Inc.


Brian K. Andrea, Esq.
Gibson, Dunn & Crutcher, LLP
1050 Connecticut Ave. N.W.
Washington, D.C. 20036
Phone: (202) 955-8500 Fax: (202) 530-4238
Email: bandrea@gibsondunn.com
Representing Apple, Inc.

           Downtown Los Angeles Office ● 601 S. Figueroa Street Suite 4000 ● Los Angeles, CA 90017 ● (213) 223-1113 ● Fax (213) 223-1114
                   San Diego Office ● 402 W. Broadway Suite 2400 ● San Diego, CA 92101 ● (619) 814-1966 ● Fax (619) 814-1967
                 San Francisco Office ● 100 Pine Street Suite 1950 ● San Francisco, CA 94111 ● (415) 266-1242 ● Fax (415) 266-1243
              West Los Angeles Office ● 11601 Wilshire Blvd Suite 2040 ● Los Angeles, CA 90025 ● (310) 442-2100 ● Fax (310) 442-2125
                   Sacramento Office ● 980 9th Street Suite 2200 ● Sacramento, CA 95814 ● (916) 394-8490 ● Fax (916) 394-8495
    Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 10 of 11 Page ID
                                     #:46535                              Santa Ana Office
                                                                                                                                   1851 East First Street
                                                                                                                                             Suite 1600
                                                                                                                                   Santa Ana, CA 92705
                                                                                                                                  Phone: (714) 834-1340
                                                                                                                                    Fax: (714) 834-1344
                                                                                                                             www.judicatewest.com


Brian M. Buroker, Esq.
Gibson, Dunn & Crutcher, LLP
1050 Connecticut Ave. N.W.
Washington, D.C. 20036
Phone: (202) 955-8500 Fax: (202) 530-4238
Email: bburoker@gibsondunn.com
Representing Apple, Inc.


Angelique Kaounis, Esq.
Gibson, Dunn & Crutcher, LLP
2029 Century Park E.
Suite 4000
Los Angeles, CA 90067
Phone: (310) 552-8500 Fax:
Email: akaounis@gibsondunn.com
Representing Apple, Inc.


Joshua H. Lerner, Esq.
Gibson, Dunn & Crutcher, LLP
555 Mission St.
Suite 3000
San Francisco, CA 94105
Phone: (415) 393-8200 Fax: (415) 393-8306
Email: jlerner@gibsondunn.com
Representing Apple, Inc.


Jason C. Lo, Esq.
Gibson, Dunn & Crutcher, LLP
333 S. Grand Ave.
49th Floor
Los Angeles, CA 90071
Phone: (213) 229-7000 Fax: (213) 229-6635
Email: jlo@gibsondunn.com
Representing Apple, Inc.


H. Mark Lyon, Esq.
Gibson, Dunn & Crutcher, LLP
1881 Page Mill Rd.
Palo Alto, CA 94304
Phone: (650) 849-5300 Fax: (650) 849-5333
Email: mlyon@gibsondunn.com
Representing Apple, Inc.


Kenneth G. Parker, Esq.
Gibson, Dunn & Crutcher, LLP
3161 Michelson Dr.
Irvine, CA 92612
Phone: (949) 451-3800 Fax: (949) 451-4220
Email: kparker@gibsondunn.com
Representing Apple, Inc.


          Downtown Los Angeles Office ● 601 S. Figueroa Street Suite 4000 ● Los Angeles, CA 90017 ● (213) 223-1113 ● Fax (213) 223-1114
                  San Diego Office ● 402 W. Broadway Suite 2400 ● San Diego, CA 92101 ● (619) 814-1966 ● Fax (619) 814-1967
                San Francisco Office ● 100 Pine Street Suite 1950 ● San Francisco, CA 94111 ● (415) 266-1242 ● Fax (415) 266-1243
             West Los Angeles Office ● 11601 Wilshire Blvd Suite 2040 ● Los Angeles, CA 90025 ● (310) 442-2100 ● Fax (310) 442-2125
                  Sacramento Office ● 980 9th Street Suite 2200 ● Sacramento, CA 95814 ● (916) 394-8490 ● Fax (916) 394-8495
    Case 8:20-cv-00048-JVS-JDE Document 619 Filed 02/25/22 Page 11 of 11 Page ID
                                     #:46536                              Santa Ana Office
                                                                                                                                    1851 East First Street
                                                                                                                                              Suite 1600
                                                                                                                                    Santa Ana, CA 92705
                                                                                                                                   Phone: (714) 834-1340
                                                                                                                                     Fax: (714) 834-1344
                                                                                                                              www.judicatewest.com


Brian Rosenthal, Esq.
Gibson, Dunn & Crutcher, LLP
1050 Connecticut Ave. N.W.
Washington, D.C. 20036
Phone: (202) 955-8500 Fax: (202) 530-4238
Email: barosenthal@gibsondunn.com
Representing Apple, Inc.


Ilissa S. Samplin, Esq.
Gibson, Dunn & Crutcher, LLP
333 S. Grand Ave.
49th Floor
Los Angeles, CA 90071
Phone: (213) 229-7000 Fax: (213) 229-6635
Email: isamplin@gibsondunn.com
Representing Apple, Inc.


Marc R. Lewis, Esq.
Lewis & Llewellyn, LLP
601 Montgomery St.
Suite 2000
San Francisco, CA 94111
Phone: (415) 800-0590 Fax: (415) 390-2127
Email: mlewis@lewisllewellyn.com
Representing Apple, Inc.


Tobias G. Snyder, Esq.
Lewis & Llewellyn, LLP
601 Montgomery St.
Suite 2000
San Francisco, CA 94111
Phone: (415) 800-0590 Fax: (415) 390-2127
Email: tsnyder@lewisllewellyn.com
Representing Apple, Inc.


Mark D. Selwyn, Esq.
Wilmer Cutler Pickering Hale & Dorr, LLP
2600 El Camino Real
Suite 400
Palo Alto, CA 94306
Phone: (650) 858-6031 Fax:
Email: mark.selwyn@wilmerhale.com
Representing Apple, Inc.




           Downtown Los Angeles Office ● 601 S. Figueroa Street Suite 4000 ● Los Angeles, CA 90017 ● (213) 223-1113 ● Fax (213) 223-1114
                   San Diego Office ● 402 W. Broadway Suite 2400 ● San Diego, CA 92101 ● (619) 814-1966 ● Fax (619) 814-1967
                 San Francisco Office ● 100 Pine Street Suite 1950 ● San Francisco, CA 94111 ● (415) 266-1242 ● Fax (415) 266-1243
              West Los Angeles Office ● 11601 Wilshire Blvd Suite 2040 ● Los Angeles, CA 90025 ● (310) 442-2100 ● Fax (310) 442-2125
                   Sacramento Office ● 980 9th Street Suite 2200 ● Sacramento, CA 95814 ● (916) 394-8490 ● Fax (916) 394-8495
